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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

IBEW LOCAL 915,

      Plaintiff,

v.                                               Case No: 8:23-cv-196-SCB-AAS

CF BREEZE CONSTRUCTION LLC,

      Defendant.



        NOTICE REGARDING CASE MANAGEMENT DEADLINES

      The Court advises the parties that most cases will be tried within 18 months

of the filing date. In order to further the prompt resolution of this case, Judge

Bucklew encourages the completion of discovery within 8 months after the filing of

the Case Management Report. Parties seeking more than 8 months for discovery

shall make such request, along with a showing of good cause, in an addendum to the

Case Management Report. A Pretrial Conference will be set at least 90 days after

the dispositive motions deadline. A trial will be scheduled for the month following

the pretrial conference.

                                                          SUSAN C. BUCKLEW
                                                       United States District Judge

January 30, 2023

                                                          By: Charmaine A. Black
                                                               Courtroom Deputy
